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                       EXHIBIT F
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                        Toby Stock, Ph.D., CPA
 Ohio University                                       Google Voice: 937-505-0831
 School of Accountancy                                 Fax: 740-593-2412
 College of Business                                   Email: stockt@ohio.edu
 326 Copeland Hall
 Athens, Ohio 45701


 ACADEMIC APPOINTMENTS & PROFESSIONAL EXPERIENCE
          Daley Professor of Accountancy               August 2021—current
          OHIO UNIVERSITY                              Athens, Ohio
          Professor of Accountancy                     September 2007—current
          OHIO UNIVERSITY                              Athens, Ohio
          Robert H. Freeman Professor of Accountancy   September 2006—2012
          OHIO UNIVERSITY                              Athens, Ohio
          Associate Professor of Accountancy           July 2001—August 2007
          OHIO UNIVERSITY                              Athens, Ohio
          Assistant Professor of Accounting            January 1995—July 2001
          UNIV. OF COLORADO AT BOULDER                 Boulder, Colorado
          Associate Instructor of Accounting           August 1989—May 1994
          INDIANA UNIVERSITY                           Bloomington, Indiana
          Instructor of Accountancy                    June 1987—July 1989
          MIAMI UNIVERSITY                             Oxford, Ohio
          Tax Senior/Tax Staff                         September 1984—May 1987
          ARTHUR ANDERSEN & CO.                        Cincinnati, Ohio


 EDUCATION
          Ph.D. in Business                            1995
          INDIANA UNIVERSITY                           Bloomington, Indiana
          M.Acc.                                       1984
          MIAMI UNIVERSITY                             Oxford, Ohio
          B.S.                                         1983
          MIAMI UNIVERSITY                             Oxford, Ohio



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 PUBLICATIONS – TEXTBOOK CHAPTERS
 “Corporations: Organization and Capital Structure” in Corporations, Partnerships, Estates
 and Trusts, Chapter 4. Cengage Learning 2020-2022 editions.

 “Corporations: Organization, Capital Structure, and Operating Rules” in Essentials of
 Taxation: Individuals and Business Entities, Chapter 12. Cengage Learning 2018-2022 editions.

 “Losses and Loss Limitations” in Essentials of Taxation: Individuals and Business Entities,
 Chapter 6. Cengage Learning 2018-2022 editions.

 “Property Transactions: Basis, Gain and Loss, and Nontaxable Transactions” in Essentials
 of Taxation: Individuals and Business Entities, Chapter 7. Cengage Learning 2019-2021 editions.

 “Property Transactions: Capital Gains and Losses, Section 1231, and Recapture
 Provisions” in Essentials of Taxation: Individuals and Business Entities, Chapter 8. Cengage
 Learning 2019-2021 editions.


 PUBLICATIONS – ARTICLES
 “The Taxation of Contingent Consideration Transactions,” (with Yining Chen). The Tax
 Advisor, July 2010.

 “Security Analyst and Stock Market Efficiency in Anticipating Tax-Motivated Income
 Shifting,” With Phil Shane. The Accounting Review, 81 (1; January 2006): 227-250.

 “An Empirical Investigation of Corporate Tax-Motivated Income Shifting” Advances in
 Taxation, 16 (2005): 147-177.

 “The Amount and Timing of Goodwill Write-Offs and Revaluations: U.S. and U.K.
 Evidence” (with Steven Henning, Marks Paneth & Shron, LLP, and Wayne Shaw, Southern
 Methodist University). Review of Quantitative Finance and Accounting 23(2; 2005): 99-121.

 “The Effect of Taxes on Acquisition Price and Transaction Structure,” (with Steven
 Henning and Wayne Shaw, Southern Methodist University). The Journal of the American
 Taxation Association 2000 Supplement, 1-17.

 “The Use of Financial Accounting Choice to Support Aggressive Tax Positions: Public and
 Private Firms,” (with Bryan Cloyd, University of Illinois, and Jamie Pratt, Indiana University).
 Journal of Accounting Research, Spring, 1996. Awarded 1997-1998 American Taxation
 Association Tax Manuscript Award.

 “Taxpayer Belief Revisions and the Importance of Controlling for Prior Beliefs,” (with
 Peggy Hite, Indiana University). Advances in Taxation, 8 (1996): 81-100.

 “The Effect of Practitioner Recommendations on Tax Judgments of Small Business
 Owners,” (with Peggy Hite, Indiana University). Law and Policy, April 1996.


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 “Reasons for Preparer Usage by Small Business Owners: How Compliant Are They?”
 (with Peggy Hite, Indiana University and Bryan Cloyd, University of Illinois). The National
 Public Accountant, February, 1992.


 PUBLICATIONS – REVIEWS OF PUBLISHED BOOKS AND SOFTWARE
 Tax Concepts and Analysis, by Jerry Stern. The Journal of the American Taxation Association,
 Spring 1997.

 “TaxTools,” by Jerry Stern. The Journal of the American Taxation Association, Spring 1997.


 WORKING PAPERS
 “A Case Study for Teaching and Learning Corporate and Partnership Tax and Financial
 Accounting Planning and Compliance Concepts” Under revision for review at Advances in
 Taxation.

 “Classifying Hybrid Securities: All-or-Nothing GAAP versus IAS Components,” (with
 Kevin Springer, KPMG). Working paper to be submitted to the Journal of Accountancy or other
 practitioner journal.


 RESEARCH IN PROCESS
 “A Reexamination of Shane and Stock (2006): Analyst Detection of Tax-Motivated Income
 Shifting” (with Barry Hettler, Ohio University; and Steve Rock, University of Colorado at
 Boulder).

 “Ten Fundamental Differences Between Financial and Tax Accounting.”

 “A Decision Aid for Disallowed Losses in Corporate Distributions.”

 “Court and Congress Corporations Case: Incorporating Financial Reporting under SFAS
 141R and Tax Considerations in Advanced Accounting Classes.” With Ray Stephens and
 Ann Gabriel. Work in process; expected submission to Issues in Accounting Education.




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 INVITED RESEARCH WORKSHOP PRESENTATIONS
 ♦   American Accounting Association Annual Meeting, 2002.
 ♦   Case Western Reserve University, 2000.
 ♦   Ohio University, 2000.
 ♦   University of Rochester, 1997.
 ♦   University of Colorado, 1996, 1994.
 ♦   State University of New York at Buffalo, 1994.
 ♦   Indiana University, 1994, 1992.


 OTHER RESEARCH-RELATED ACTIVITIES
 ♦   Editorial board member, Advances in Taxation, 1995—2008 and 2014-present.
 ♦   Ad hoc reviewer for The Journal of Accounting and Public Policy, 2019—current.
 ♦   Ad hoc reviewer for Advances in Taxation, 1992—1995, 2019 editions.
 ♦   Editor, Advances in Taxation, July 2008—2014.
 ♦   Editorial board member, The Journal of the American Taxation Association, 2000—2002.
 ♦   Ad hoc reviewer for The Accounting Review, 1998—2000.
 ♦   Ad hoc reviewer for The Journal of the American Taxation Association, 1995—2006.
 ♦   Member of doctoral dissertation committee for Laura Menzel, Ph.D. candidate in
     Accounting, University of Colorado at Boulder.


 TEACHING
 ♦ Author of three chapters in the West Federal Tax textbook series.
 ♦ Staff training external faculty for a “Big 4” public accounting firm, 2013-2017.
 ♦ Teaching interests include taxation and decision making with a focus on corporate taxation.
 ♦ Revised Ohio University and University of Colorado at Boulder undergraduate tax
   curriculum to emphasize microeconomic analysis of business decisions.
 ♦ Teach graduate and undergraduate tax and managerial accounting courses at Ohio University:
          --ACCT6400         Income Tax Research and Planning (graduate; online and in-person)
          --ACCT4400         Advanced Federal Income Tax Planning (undergraduate; online and in-person)
          --ACCT3400         Federal Income Tax Planning (undergraduate/graduate)
          --ACCT1020         Managerial Accounting (undergraduate; online and in-person)
          --ACCT617          Advanced Federal Income Tax Planning (graduate)
          --ACCT406          Advanced Financial Accounting (undergraduate)
          --PMBA605          Accounting for Managers (graduate)
 ♦ Team-taught graduate and undergraduate tax courses at the University of Colorado at Boulder:
          --ACCT6430         Income Taxation of Flow-Through Entities (graduate)
          --ACCT6420         Income Tax Research and Planning (graduate)
          --ACCT5440         Federal Income Taxation II (undergraduate)
          --ACCT4430/5430    Federal Income Taxation I (undergraduate)
 ♦ “Subject Matter Expert” Harcourt Publishing for web-based tax course, 1999-2000.

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 OTHER PROFESSIONAL PRESENTATIONS
 ♦   VITA training for Ohio University School of Accountancy/BAΨ VITA site, multiple years.
 ♦   College of Business invited speaker at the Freshman Convocation, 2014.
 ♦   The Taxation of Transactions with Contingent Consideration, OU 2003 Tax Conference.
 ♦   Tax Update on recent legislation, Ohio University, fall 2001.


 SERVICE (current commitments in bold)
 ♦   City of Athens Board of Income Tax Appeals, 2022-current.
 ♦   Ohio University College of Business Promotion and Tenure Committee, 2018-current.
 ♦   Ohio University/βΑΨ VITA & Financial Literacy Program coordinator, 2009-current.
 ♦   Ohio University School of Accountancy Promotion & Tenure Committee member,
     2008-current (as needed).
 ♦   Ohio University School of Accountancy Assurance of Learning Committee member,
     2010-current.
 ♦   Founding member, OU Press Management Advisory Board, 2010-current.
 ♦   Founding member, Joint Police Advisory Council, 2012-2020.
 ♦   Ohio University College of Business Budget Committee, 2017-2019.
 ♦   Ohio University Faculty Senator, 2007-2013; Faculty Senator alternate, 2015-18.
 ♦   Faculty Co-Advisor of Alpha Kappa Chapter of BAΨ, 2015-2018.
 ♦   Department of Finance Promotion and Tenure Committee for Travis Davidson, 2017.
 ♦   Chair, Dean Evaluation Committee, 2017 and 2011.
 ♦   Ohio University School of Accountancy Recruiting Committee chair, 2012-2015.
 ♦   Ohio University College of Business Promotion & Tenure Committee member, 2007-2015.
 ♦   Ohio University College of Business Professorship Committee member, 2008-current (as
     needed; most recently in early 2017).
 ♦   Ohio University Faculty Senate Tenure and Promotion Committee member, 2007-2013.
 ♦   Ohio University College of Business Strategic Planning Committee, 2011-2012.
 ♦   Ohio University Faculty Senate EPSA Committee member, 2009-2010.
 ♦   Ohio University Curriculum Council member, 2009-2010.
 ♦   Ohio University Curriculum Council Program Subcommittee member, 2009-2010.
 ♦   Ohio University OU Press Committee member, 2010.
 ♦   American Taxation Association 2008-2009 Ohio Region Coordinator.
 ♦   Ohio University βΑΨ International Student VITA site coordinator, 2008 and 2009.
 ♦   Ohio University College of Business Promotion and Tenure Committee chair, 2008.
 ♦   Ohio University College of Business Faculty Evaluation Committee chair, 2006-2007.
 ♦   American Taxation Association 2005-2006 Ohio Region Coordinator.
 ♦   American Taxation Association 2003-2005 Technology Committee.

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 ♦   Intellectual Contributions Committee, Ohio University, 2002-2007.
 ♦   Ohio University School of Accountancy Recruiting Committee, 2002-2006.
 ♦   American Taxation Association 2000-2001 Concerns of New Faculty Committee.
 ♦   American Taxation Association 1999-2000 Tax Manuscript Committee.
     University of Colorado Hospital Newborn Intensive Care Unit Parent-Staff Advisory
     Council member, 1999-2001.
 ♦   Chair, University of Colorado College of Business Elections Committee, 1998-2001.
 ♦   Panelist for the American Taxation Association “Concerns of New Faculty” panel
     discussion during the 1997 ATA Midyear Meeting.
 ♦   American Taxation Association 1996-1997 Concerns of New Faculty Committee.
 ♦   University of Colorado Accounting Division 1997-1999 Recruiting Committee.
 ♦   University of Colorado Accounting Division 1996-2000 Doctoral Program Committee.
 ♦   PAC-10 1997 Doctoral Consortium faculty representative.
 ♦   American Taxation Association 1996-97 Concerns of New Faculty Committee.
 ♦   American Taxation Association 1995-96 Tax Manuscript Committee.
 ♦   Member, American Accounting Association, American Taxation Association, AICPA.


 AWARDS AND HONORS
 ♦   2013 Ohio University College of Business Excellence in Teaching & Learning Award.
 ♦   2012 Deloitte/American Taxation Association Teaching Innovation Award.
 ♦   2011 Ohio University School of Accountancy Advisory Council Faculty Innovation Award.
 ♦   2010 Ohio University College of Business Excellence in Service Award.
 ♦   2009 Ohio Center for Professional Accountancy Research Grant.
 ♦   2008 Ohio University College of Business Excellence in Teaching & Learning Award.
 ♦   2008 Ohio University School of Accountancy Advisory Council Faculty Innovation Award.
 ♦   2006 Ohio University College of Business Armbruster Research Scholar.
 ♦   2006 Ohio University College of Business Excellence in Research Award.
 ♦   2003 Ohio University IFC/NPHC/WPA Teaching Award.
 ♦   1998 American Taxation Association Tax Manuscript Award for “The Use of Financial
     Accounting Choice to Support Aggressive Tax Positions: Public and Private Firms,” (with
     Bryan Cloyd, University of Texas at Austin and Jamie Pratt, Indiana University).
 ♦   University of Colorado Charles Guiney Research Scholar, 1998-2000.
 ♦   University of Colorado Dean’s Teaching Scholar, 1997-98.
 ♦   Price Waterhouse Tax Fellow, 1996-97.
 ♦   Awarded competitive University of Colorado at Boulder 1995-96 Grant-in-Aid.
 ♦   Awarded Arthur Andersen & Co., SC Foundation Doctoral Dissertation Fellowship, 1994.
 ♦   Doctoral Fellow, 1991 American Accounting Association Doctoral Consortium.

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 ♦   Awarded American Institute of CPAs 1989 Doctoral Fellowship.
 ♦   Awarded Arthur Andersen & Co. first year Doctoral Fellowship.
 ♦   Awarded American Accounting Association 1989 Doctoral Fellowship (Declined).
 ♦   Certified Public Accountant (Ohio, 1986).
 ♦   Member, Beta Alpha Psi, Accounting honorary fraternity.
 ♦   Member, Beta Gamma Sigma, Business honorary fraternity.



 PERSONAL
 ♦ Married (Gretchen), three children: Christy, Michael, and Alex.
 ♦ Cubmaster for Cub Scout Pack 53, Athens, Ohio, 2004-2007.
 ♦ Hometown: Cincinnati, Ohio.




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